     Case 2:18-cv-00055-TOR      ECF No. 29   filed 04/06/18   PageID.1950 Page 1 of 39


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16                                SPOKANE DIVISION
17
      PLANNED PARENTHOOD OF GREATER
18    WASHINGTON AND NORTH IDAHO;
      PLANNED PARENTHOOD OF THE                          Case No. 2:18-cv-00055-TOR
19    GREAT NORTHWEST AND THE
      HAWAIIAN ISLANDS; and PLANNED                      PLAINTIFFS’ REPLY IN
20    PARENTHOOD OF THE HEARTLAND,                       SUPPORT OF MOTION FOR
                                                         PRELIMINARY INJUNCTION
21                 Plaintiffs,                           AND OPPOSITION TO
                                                         DEFENDANTS’ MOTION TO
22          v.                                           DISMISS OR MOTION FOR
                                                         SUMMARY JUDGMENT
23    U.S. DEPARTMENT OF HEALTH AND
      HUMAN SERVICES and ALEX MICHAEL
24    AZAR II in his official capacity
      as Secretary of the U.S.
25    Department of Health and Human
      Services,
26
27                 Defendants.
28


       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR            ECF No. 29           filed 04/06/18         PageID.1951 Page 2 of 39


 1                                            TABLE OF CONTENTS
 2                                                                                                                       Page(s)

 3    PRELIMINARY STATEMENT ................................................................................... 1
 4    I.     PLAINTIFFS HAVE ESTABLISHED THAT THEY ARE ENTITLED TO
 5           A PRELIMINARY INJUNCTION ..................................................................... 2

 6           A.      Plaintiffs Are Likely To Succeed on the Merits of Their APA Claims
                     (Counts I and II). ....................................................................................... 2
 7
 8                   1.       HHS All But Concedes Its Conduct Was Arbitrary and
                              Capricious. ...................................................................................... 2
 9
                     2.       HHS’s Conduct Is Contrary to HHS Regulations .......................... 6
10
11           B.      Plaintiffs Are Likely To Succeed on the Merits of Their Due Process
                     Claim. ...................................................................................................... 20
12
             C.      Plaintiffs Satisfy The Remaining Injunction Factors .............................. 21
13
14    II.    DEFENDANTS’ MOTION TO DISMISS OR IN THE ALTERNATIVE
             FOR SUMMARY JUDGMENT SHOULD BE DENIED................................ 24
15
             A.      Plaintiffs Have Plausibly Alleged Claims for Violations of the APA
16                   and the Due Process Clause Claims For Relief (Counts I, II, and IV) ... 24
17
             B.      Plaintiffs Have Plausibly Alleged a Violation of the Establishment
18                   Clause (Count III).................................................................................... 25
19                   1.       Plaintiffs Have Article III Standing .............................................. 25
20
                     2.       Plaintiffs Have Plausibly Alleged An Establishment Clause
21                            Violation ....................................................................................... 25
22
23
24
25
26
27
28


       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR              ECF No. 29         filed 04/06/18       PageID.1952 Page 3 of 39


 1                                          TABLE OF AUTHORITIES
 2
                                                                                                                    Page(s)
 3
      Cases
 4
      Am. Indian Ctr. of Omaha, Inc.,
 5
        DAB 1141 (1990) (H.H.S. Mar. 26, 1990) ............................................................. 13
 6
      Apter v. Richardson,
 7       510 F.2d 351 (7th Cir. 1975) .................................................................................. 15
 8
      Arc of Cal. v. Douglas,
 9       757 F.3d 975 (9th Cir. 2014) ............................................................................ 22, 23
10    Ashcroft v. Iqbal,
11       556 U.S. 662 (2009)................................................................................................ 24

12    Bennett v. Ky. Dep’t of Educ.,
        470 U.S. 656 (1985)................................................................................................ 19
13
14    Bowen v. Kendrick,
        487 U.S. 589 (1988)................................................................................................ 28
15
      Bowman Transp., Inc. v. Arkansas–Best Freight Sys., Inc.,
16
        419 U.S. 281 (1974).................................................................................................. 5
17
      Citizens Health Corp. v. Sebelius,
18       725 F.3d 687 (7th Cir. 2013) ............................................................................ 20, 21
19
      Citizens to Preserve Overton Park, Inc. v. Volpe,
20       401 U.S. 402 (1971).......................................................................................... 14, 29
21    Cmty. Action of Laramie Cty., Inc. v. Bowen,
22      866 F.2d 347 (10th Cir. 1989) .......................................................................... 15, 28
23    Confederated Tribes & Bands of the Yakama Nation v. U.S. Fish &
24      Wildlife Serv.,
        No. 1:14-CV-3052-TOR (E.D. Wash. Mar. 20, 2015) ........................................... 12
25
      Democracy Forward Found. v. U.S. Dep’t of Health and Human Servs,
26      No. 1:17-cv-02449-TJK (D.D.C. Compl. filed Nov. 13, 2017) ............................... 3
27
      Edwards v. Aguillard,
28      482 U.S. 578 (1987).......................................................................................... 25, 26

                                                               - ii -
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR              ECF No. 29         filed 04/06/18       PageID.1953 Page 4 of 39


 1    Fayant v. U.S. Bank Nat’l Ass’n,
 2      No. 2:16-CV-00139-SMJ, (E.D. Wash. Jan. 26, 2017) ............................................ 1

 3    Grassetti v. Weinberger,
        408 F. Supp. 142 (N.D. Cal. 1976) ......................................................................... 16
 4
 5    Hercules, Inc. v. United States,
        516 U.S. 417 (1996)................................................................................................ 18
 6
      Krygoski Constr. Co. v. United States,
 7
         94 F.3d 1537 (Fed. Cir. 1996) ................................................................................ 16
 8
      Lee v. City of Los Angeles,
 9       250 F.3d 668 (9th Cir. 2001) .................................................................................. 24
10
      Leiter v. United States,
11       271 U.S. 204 (1926).......................................................................................... 17, 18
12    Lemon v. Kurtzman,
13      403 U.S. 602 (1971).............................................................................. 25, 26, 27, 28
14    Lujan v. Defs. of Wildlife,
         504 U.S. 555 (1992)................................................................................................ 25
15
16    Lydo Enters., Inc. v. City of Las Vegas,
         745 F.2d 1211 (9th Cir. 1984) ................................................................................ 23
17
      Marsh v. Chambers,
18
        463 U.S. 783 (1983)................................................................................................ 29
19
      Matsushita Elec. Industrial Co. v. Zenith Radio Corp.,
20      475 U.S. 574 (1986)................................................................................................ 24
21
      McCreary County v. ACLU,
22      545 U.S. 844 (2005).................................................................................... 25, 26, 27
23    Md. Dep’t of Human Res. v. HHS,
24      762 F.2d 406 (4th Cir. 1985) .................................................................................. 20
25    Miller ex rel N.L.R.B. v. Cal. Pac. Med. Ctr.,
26       991 F.2d 536 (9th Cir. 1993) .................................................................................. 23

27    Nat’l Consumer Info. Ctr. v. Gallegos,
        549 F.2d 822 (D.C. Cir. 1977).......................................................................... 20, 21
28

                                                              - iii -
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR               ECF No. 29         filed 04/06/18        PageID.1954 Page 5 of 39


 1    Nat’l Wildlife Fed'n v. U.S. Army Corps of Engineers,
 2      384 F.3d 1163 (9th Cir. 2004) .................................................................................. 5

 3    Norfolk S. Ry. Co. v. Shanklin,
        529 U.S. 344 (2000)................................................................................................ 13
 4
 5    Oakland Tribune, Inc. v. Chronicle Publ’g Co.,
        762 F.2d 1374 ......................................................................................................... 23
 6
      Perry v. Sindermann,
 7
         408 U.S. 593 (1972)................................................................................................ 20
 8
      Public Citizen Inc. v. Mineta,
 9      343 F.3d 1159 (9th Cir. 2003) ................................................................................ 13
10
      Reeves v. Sanderson Plumbing Prod., Inc.,
11       530 U.S. 133 (2000)................................................................................................ 27
12    Schlesinger v. United States,
13       390 F.2d 702 (1968) ................................................................................................. 3
14    SEC v. Chenery Corp.,
        332 U.S. 194 (1947).................................................................................................. 5
15
16    Service v. Dulles,
         354 U.S. 363 (1957)................................................................................................ 14
17
      Siebert v. Gene Sec. Network, Inc.,
18
         75 F. Supp. 3d 1108 (N.D. Cal. 2014) .................................................................... 13
19
      Southern Mutual Help Association, Inc. v. Califano,
20       574 F.2d 518 (D.C. Cir. 1977)................................................................ 9, 10, 11, 19
21
      Stone v. Graham,
22       449 U.S. 39 (1980).................................................................................................. 28
23    T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n,
24       809 F.2d 626 (9th Cir. 1987) .................................................................................. 24
25    To the Secretary of the Interior,
26       39 Comp. Gen. 340, Oct. 29, 1959, 1959 CPD ¶ 79 .............................................. 18

27    Town of Greece, N.Y. v. Galloway,
        134 S. Ct. 1811 (2014)............................................................................................ 29
28

                                                                - iv -
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR              ECF No. 29          filed 04/06/18       PageID.1955 Page 6 of 39


 1    United States ex rel. Accardi v. Shaughnessy,
 2      347 U.S. 260 (1954)................................................................................................ 14

 3    United States v. Hatcher,
        922 F.2d 1402 (1990) ............................................................................................. 20
 4
 5    Vance-Warren Comprehensive Health Plan, Inc.,
        DAB 2180 (2008) (H.H.S. June 18, 2008) ............................................................. 16
 6
      Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,
 7
         429 U.S. 252 (1977)................................................................................................ 27
 8
      Youth Network Council of Chicago, Inc.,
 9      DAB 1150 (1990) (H.H.S. May 3, 1990) ........................................................... 5, 16
10
      Statutes
11
      31 U.S.C. § 1341(a)(1)................................................................................................. 17
12
      Anti-Deficiency Act (ADA) ........................................................................ 1, 17, 18, 19
13
14    Administrative Procedure Act ..................................................................................... 14
15    Bipartisan Budget Act of 2018 § 20402, Pub. L. No. 115-123, Feb. 9,
         2018, 132 Stat. 64, 119 ........................................................................................... 19
16
17    Consolidated and Further Continuing Appropriations Act, 2015, Pub. L.
        113-235, Dec. 16, 2014, 128 Stat. 2130, 2481 ....................................................... 19
18
      Consolidated Appropriation Act, 2018, Pub. L. 115-141, March 23,
19
        2018, 132 Stat. 348 ................................................................................................. 19
20
      Consolidated Appropriations Act, 2016, Pub. L. 114-113, Dec. 18, 2015,
21      129 Stat. 2242, 2617 ............................................................................................... 19
22
      Consolidated Appropriations Act, 2017, Pub. L. 115-31, May 5, 2017,
23      131 Stat. 135, 536 ................................................................................................... 19
24    Continuing Appropriations Act, 2018 and Supplemental Appropriations
25      for Disaster Relief Requirements Act, 2017, Pub. L. No. 115-56, 131
        Stat. 1129, 1139-40 ................................................................................................. 19
26
27
28

                                                                -v-
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR                 ECF No. 29           filed 04/06/18         PageID.1956 Page 7 of 39


 1    Rules
 2
      Fed. R. Civ. P. 8(a)(2) .................................................................................................. 24
 3
      Fed. R. Civ. P. 12(b)(6) ............................................................................................... 24
 4
      Fed. R. Civ. P. 56(a) .................................................................................................... 24
 5
 6    Regulations

 7    2 C.F.R 200.339(a)....................................................................................................... 16
 8    2 C.F.R. Part 200.......................................................................................................... 16
 9
      45 C.F.R. § 74.110 (1976) ........................................................................................... 10
10
      45 C.F.R. § 75.2 ................................................................................................... 6, 7, 10
11
      45 C.F.R. § 75.372(a) .............................................................................................. 6, 16
12
13    48 C.F.R. § 52.249-2(a) ............................................................................................... 16

14    78 Fed. Reg. 78590, 78599 (Dec. 26, 2013) ................................................................ 16
15    5 C. Wright & A. Miller, Federal Practice and Procedure § 1202 (3d ed.) ................. 24
16
      Other Sources
17
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18      http://nymag.com/daily/intelligencer/2018/03/planned-parenthood-
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         https://www.hhs.gov/ash/oah/sites/default/files/2015-general-tpp-
21
         faqs.pdf (last visited Apr. 6, 2018) ....................................................................... 7, 8
22
      https://www.hhs.gov/ash/oah/grant-programs/funding-
23       opportunities/index.html (last visited Apr. 6, 2018) ................................................ 8
24
      https://www.hhs.gov/ash/oah/grant-programs/teen-pregnancy-
25       prevention-program-tpp/current-grantees/map/index.html (providing
26       a map of grantees for “Fiscal Year 2015-2019”) (last visited Apr. 6,
         2018) ......................................................................................................................... 8
27
28

                                                                    - vi -
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR           ECF No. 29       filed 04/06/18      PageID.1957 Page 8 of 39


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        http://cenational.org/Publications/publicationsArticle.asp?IDNum=63 ................ 26
 3
      Planned Parenthood Defunding Threatens Government Spending
 4
         Package, Politico, Mar. 7, 2018, at
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         defunding-government-spending-package-392513 ................................................ 22
 6
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         trump-religious-activists-hhs-351735..................................................................... 27
 8
 9
10
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13
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21
22
23
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25
26
27
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                                                         - vii -
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
       DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR       ECF No. 29     filed 04/06/18   PageID.1958 Page 9 of 39


 1                                 PRELIMINARY STATEMENT
 2             It is remarkable how much Defendants fail to address in their brief. They fail to
 3    grapple with Plaintiffs’ argument that the decision to terminate the Teen Pregnancy
 4    Prevention (TPP) Program is arbitrary and capricious, providing only slight reference
 5    to post-hoc justifications that were not before the agency at the time of its decision.
 6    They make no attempt to argue that their termination of Plaintiffs’ cooperative
 7    agreements satisfy any of the three circumstances under which their own regulations
 8    allow for termination. Instead, they suggest that the Department of Health and
 9    Human Services’ (HHS) informal, internal guidance bestows HHS with authority to
10    terminate an award whenever it determines that doing so would be in the “best
11    interests of the government.” But Defendants do not even attempt to show that such a
12    determination was made, much less explain why ending a successful, evidence-based
13    program was in the best interest of anyone. Nor can they.
14             Failing to engage Plaintiffs substantively on the merits,1 Defendants argue that
15    they are immune from any scrutiny, and are vested with unfettered and unreviewable
16    discretion to end Plaintiffs’ cooperative agreements in order to advance the political
17    agenda of the new administration. Defendants are flat wrong. They are not above
18    their own regulations, are not free to act arbitrarily and capriciously, and are not
19    beyond this Court’s review.
20
      1
        Nor may Defendants provide such arguments in their forthcoming reply in support
21    of their motion to dismiss or for summary judgment, which is expressly limited to
22    that motion and is not to be used as a sur-reply in opposition to Plaintiffs’ motion for
      Preliminary Injunction. See ECF No. 23. In light of the unusual posture of this case,
23    where Defendants’ opposition to Plaintiffs’ motion for preliminary injunction was
      combined with a motion for summary judgment, Plaintiffs note that additional
24
      materials referenced herein are submitted in connection with the motion for
25    preliminary injunction, not the motion for summary judgment. See Fayant v. U.S.
      Bank Nat’l Ass’n, No. 2:16-CV-00139-SMJ, 2017 WL 379450, at *2 (E.D. Wash.
26    Jan. 26, 2017) (discussing ways in which additional materials can be introduced on
27    motion to dismiss, including because materials are judicially noticeable). Citations to
      extrinsic materials are referenced because of Plaintiffs’ belief that the materials are
28    judicially noticeable.

          PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
          DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR        ECF No. 29    filed 04/06/18   PageID.1959 Page 10 of 39


 1              Once certain obfuscations regarding the Anti-Deficiency Act (ADA) and the
 2     HHS Grants Policy Statement (GPS) are addressed, it is readily apparent that
 3     Plaintiffs have established a likelihood of success on the merits. Erroneously blaming
 4     Plaintiffs for the timing of this suit, Defendants fail to dispute the extensive showing
 5     Plaintiffs have made that, absent injunctive relief, irreparable harm will follow. HHS
 6     cannot be heard to discount the severity of this irreparable harm with complaints of
 7     the administrative burden it will face if forced to comply with its own regulations, nor
 8     can HHS assert any public interest in competition for federal awards when it was
 9     HHS that made five-year awards to Plaintiffs.
10              Accordingly, Plaintiffs are entitled to injunctive relief prohibiting HHS from
11     going forward with its unlawful termination of Plaintiffs’ awards, and requiring HHS
12     to continue administering the TPP Program and Plaintiffs’ cooperative agreements. In
13     contrast, Defendants’ attempt to dismiss or obtain summary judgment denying
14     Plaintiffs’ claim under the Establishment Clause rests on a fundamental
15     misunderstanding of the parties’ burdens and applicable standards at these preliminary
16     stages of litigation. Plaintiffs clearly have standing to challenge HHS’s actions under
17     the Establishment Clause, and have plausibly alleged a violation of the Establishment
18     Clause; they need not prove the claim before discovery.2
19                                              ARGUMENT
20     I.       PLAINTIFFS HAVE ESTABLISHED THAT THEY ARE ENTITLED
                TO A PRELIMINARY INJUNCTION
21              A.   Plaintiffs Are Likely To Succeed on the Merits of Their APA Claims
22                   (Counts I and II).
                     1.    HHS All But Concedes Its Conduct Was Arbitrary and
23                         Capricious.
24              Plaintiffs described in detail the multiple ways in which HHS’s actions were
25     arbitrary and capricious: HHS consistently changed its purported justifications for
26     terminating the TPP Program, which in any event were inconsistent with HHS’s prior
       2
27      Pursuant to Rule 56(d) of the Federal Rules of Civil Procedure, Plaintiffs attach the
       Declaration of Andrew Tutt, affirming that Plaintiffs require discovery to gather the facts
28     necessary to oppose a motion for summary judgment in this case.

                                                    -2-
           PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
           DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR       ECF No. 29    filed 04/06/18   PageID.1960 Page 11 of 39


 1     statements about the effectiveness of the Program; HHS relied on a flawed
 2     interpretation of the evidence, and a misunderstanding of the purpose of the TPP
 3     Program; and HHS disregarded the facts before it in favor of an ideological agenda.
 4     See Mtn., ECF No. 24, at 13–19.
 5              Defendants do not dispute any of this, and documents recently produced as part
 6     of a Freedom of Information Act (FOIA) litigation3 confirm (even when heavily
 7     redacted) the arguments set forth in Plaintiffs’ motion. For example, Plaintiffs
 8     discussed the political agenda of political appointees within HHS, particularly Valerie
 9     Huber, chief of Staff for the Office of the Secretary of Health, who has publicly
10     maligned the TPP Program. See Mtn. at 16. Internal agency documents now confirm
11     that it was those same officials—the “policy team”4—that were principally involved
12     in the decision to terminate the TPP Program, and that there was no consultation with
13     the Office of Adolescent Health (OAH)—the Office specifically created to oversee
14     TPP Program funding. A Note to File authored by Evelyn Kappeler, the Director of
15     OAH, confirms that the teenage pregnancy experts in OAH who were in charge of
16     overseeing the grants had no involvement in the decision to terminate the grants, and
17     that officials from OAH were not provided any explanation for the decision until the
18     policy team provided them with “the official talking points” after the decision to
19     terminate already had been made.5 That same document confirms that the agency put
20     out inaccurate information about the results of TPP Program research, and never went
21     directly to OAH for information about how the TPP Program was working.6
22
       3
23       See Democracy Forward Foundation v. U.S. Dep’t of Health and Human Servs, No.
       1:17-cv-02449-TJK (D.D.C. Complaint filed Nov. 13, 2017).
24     4
         See Link Decl., Ex. E; see also id., Ex. F.
       5
25       See Note to the File of Evelyn Kappeler (Director of OAH) Dated July 28, 2018,
       Link Decl. Ex. G.
26     6
         Id. Note that, in the context of a procurement contract, one of the few limits to a
27     Contracting Officer’s authority to terminate a contract for default where a contractor
       fails to perform as required is where the Contracting Officer’s decision to terminate
28     is driven by politically motivated pressure, rather than independent judgment as to
                                                                      (Footnote Cont’d on Following Page)
                                                  -3-
           PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
           DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR               ECF No. 29   filed 04/06/18   PageID.1961 Page 12 of 39


 1              Plaintiffs also explained that, in claiming that the TPP Program was not
 2     effective, HHS apparently had relied on outdated research. See Mtn. at 18. Internal
 3     agency documents now confirm this. For instance, in one document Evelyn Kappeler
 4     noted that OAH staff were “not clear where some of the statements” that HHS had
 5     put out about the TPP Program were coming from; explained to the policy team that
 6     statements made in press articles “contains several errors” about the TPP Program
 7     findings; and offered to provide the Office of the Assistant Secretary with “accurate
 8     data” about the TPP Program.7 Similarly, an email from HHS staffer Emily Novick
 9     dated August 4, 2017 sought to explain to senior HHS officials, including Valerie
10     Huber, that HHS’s recitation of prior research results of the effectiveness of certain
11     curricula under the TPP Program was incorrect.8
12              Plaintiffs had also detailed the post hoc nature of HHS’s justifications. This,
13     too, has been confirmed by recently-produced documents. For example, internal
14     agency documents show that in August 2017—i.e., after the termination decision
15     already had been made, and after the agency received negative press for cutting the
16     TPP Program grants—HHS and its communications staff met with the strategic
17     communications firm Nahigian Strategies (run by a member of the Trump Transition
18     Team) to discuss work surrounding the TPP Program—suggesting an after-the-fact
19     effort to justify HHS’s decision.9
20              Defendants devote only one sentence to responding to Plaintiffs’ argument that
21     HHS acted arbitrarily and capriciously, noting in passing that “HHS’s policy concerns
22     (Footnote Cont’d From Previous Page)

23     the Government’s real interests. See Schlesinger v. United States, 390 F.2d 702,
       581–84 (1968).
24     7
         Link Decl., Ex. D.
       8
25       See Link Decl., Ex. C (correcting HHS’s statement that “of the 37 projects for
       which evaluation reports had been submitted, 73 percent were found to have no or
26     negative impact on the behavior of the teens who participated” and clarifying that
27     “now there are 44 (not 37) programs accepted as effective evidence-based model”).
       9
         See Email from Ken Nahigan re “TPPP Info/Articles” (Aug. 14, 2017), Link Decl.,
28     Ex. N.

                                                         -4-
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29    filed 04/06/18   PageID.1962 Page 13 of 39


 1     with the current TTP Program are a matter of public record.” Opp. at 22. Defendants
 2     cite two documents buried within a 500-plus page set of exhibits—the first a self-
 3     serving press release, and the second a letter from HHS responding to a Senate inquiry
 4     about why it discontinued the TPP Program—both of which contained the same
 5     inaccurate representations of the research that OAH staff had previously explained
 6     was incorrect. Id. (citing Geradi Decl., Ex. H, Ex. I.). But these documents do little to
 7     help Defendants. Both statements post-date HHS’s decision to terminate Plaintiffs’
 8     awards and cannot provide justification for HHS’s decision-making at the time. Thus,
 9     they cannot serve as the record against which the Agency’s actions are judged, and the
10     government does not include them in what it considers the administrative record. See
11     ECF No. 28-1 (Certification of Administrative Record).
12           It is fundamental that a “reviewing court must review the administrative record
13     before the agency at the time the agency made its decision,” Nat’l Wildlife Fed'n v.
14     U.S. Army Corps of Engineers, 384 F.3d 1163, 1170 (9th Cir. 2004), and the court
15     “may not supply a reasoned basis for the agency’s action that the agency itself has not
16     given.” Bowman Transp., Inc. v. Arkansas–Best Freight Sys., Inc., 419 U.S. 281, 285–
17     86 (1974). Here, given that Defendants have not sufficiently identified the grounds on
18     which their actions were based (and the documents suggest grounds that were
19     improper), “the court is powerless to affirm the administrative action by substituting
20     what it considers to be a more adequate or proper basis.” SEC v. Chenery Corp., 332
21     U.S. 194, 196 (1947).
22           Moreover, these post hoc documents cited by Defendants simply reflect HHS’s
23     views of the TPP Program as a whole—they say nothing of Plaintiffs’ performance or
24     compliance, or why discontinuing funding to the individual awardee would be
25     appropriate. In Youth Network Council of Chicago, Inc., DAB 1150 (1990) (H.H.S.
26     May 3, 1990), an administrative decision on which Defendants rely (Opp. at 7), the
27     administrative appeals board noted that the decision of whether to eliminate or
28     discontinue funding must be tethered to the grantee’s conduct, finding that “[b]oth the

                                                  -5-
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29     filed 04/06/18   PageID.1963 Page 14 of 39


 1     applicable regulations and grants administration policies recognize that organizations
 2     whose management practices create risks of poor programmatic use or poor financial
 3     stewardship of grants funds are to be identified and eliminated from program
 4     participation.” Defendants identify no similar management or other practices of
 5     Plaintiffs (or any grantees) here.
 6            Accordingly, Plaintiffs are likely to succeed on the merits of their claim that
 7     HHS’s actions were arbitrary and capricious.
 8                 2.    HHS’s Conduct Is Contrary to HHS Regulations
 9            Recognizing that they have no substantive grounds to terminate Plaintiffs’

10     agreements, Defendants rely on a technical argument that the HHS regulations

11     regarding “terminations” do not apply. This position is inconsistent with the plain

12     language of the regulations, Defendants’ prior conduct, and applicable case law.
                           a.    HHS’s Conduct Amounts to an Unlawful
13                               “Termination”
14            HHS’s grant regulations provide for termination of a grant or cooperative
15     agreement in only three circumstances: (1) if the awardee “fails to comply with the
16     terms and conditions of the award”; (2) “for cause”; or (3) “with the consent of”
17     the awardee. 45 C.F.R. § 75.372(a). 10 Defendants make no attempt to argue that
18     their actions satisfy this regulation. Instead, Defendants argue that these
19     regulations are inapplicable because no “termination” has occurred.
20            Pursuant to HHS regulations, a “termination” is broadly defined as “any
21     ending of a Federal award, in whole or in part, at any time prior to the planned end
22     of a period of performance.” 45 C.F.R. § 75.2. Defendants argue that the
23     definition of “termination” is limited to any ending of a federal award within a
24     single-year funding period, i.e., the “budget period.” Opp. at 17. In other words,
25     Defendants’ position is that a “termination” only occurs where funding is
26     withdrawn within a budget period. Accordingly, Defendants assert, HHS has
27     10
         The fourth circumstance applies to termination by the grantee and thus is not
28     applicable here. See 45 C.F.R. § 75.372(a)(4).

                                                  -6-
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29    filed 04/06/18   PageID.1964 Page 15 of 39


 1     complete (indeed, unreviewable) discretion to end a federal award any time after
 2     the current budget period expires.
 3           Defendants’ argument rests entirely on the suggestion that the phrase
 4     “period of performance” in the definition of “termination” applies only to the
 5     single year “budget period” identified on each award, and not the five-year “project
 6     period.” Not so. HHS regulations define “project period” with a cross-reference
 7     to “period of performance,” indicating they are one and the same. The relevant
 8     definitions excerpted from HHS regulations are as follows:
 9
             Period of performance means the time during which the non–
10           Federal entity may incur new obligations to carry out the work
11           authorized under the Federal award. The Federal awarding
             agency or pass-through entity must include start and end dates
12
             of the period of performance in the Federal award (see §§
13           75.210(a)(5) and 75.352(a)(1)(v)).
14                                      ....
             Project period (see Period of performance).
15
                                        ....
16           Termination means the ending of a Federal award, in whole or
17           in part at any time prior to the planned end of period of
             performance.
18
       45 C.F.R. § 75.2.
19
             HHS guidance documents explain how the “project period” differs from the
20
       “budget period.” In response to the Frequently Asked Question (FAQ) “What is a
21
       project period versus a budget period?,” HHS explains that “[t]he project period is the
22
       total time for which support of a project has been programmatically approved by
23
       OAH. For budgetary and reporting purposes, funding is provided in annual
24
       increments called budget periods.”11 In response to the FAQ “How many years of
25
       funding can a grantee receive?,” HHS explained that “[g]rants will be funded in
26
       11
27       See, e.g., Frequently Asked Questions for OAH 2015 TPP FOAs,
       https://www.hhs.gov/ash/oah/sites/default/files/2015-general-tpp-faqs.pdf, at 8 (last
28     visited Apr. 6, 2018).

                                                 -7-
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29     filed 04/06/18   PageID.1965 Page 16 of 39


 1     annual increments (budget periods) and are generally approved for a project period of
 2     up to five years, although shorter project periods may be approved.”12
 3           Thus, Defendants’ argument that a termination has not occurred when a
 4     cooperative agreement with a five-year project period is ended after year three is
 5     inconsistent with HHS’s own regulations and guidance, which indicate that the
 6     “planned period of performance” is the five-year project period, not single year
 7     budget periods.
 8           Moreover, beyond the regulations and guidance, HHS consistently has referred
 9     to the cooperative agreements at issue here as five-year programs. For example, in
10     describing the awards, HHS’s website refers to them as “FY15-FY19” awards (i.e.,
11     covering Fiscal Years 2015-2019).13 In addition, the Funding Opportunity
12     Announcements (FOAs) for each of the TPP Program awards repeatedly refer to the
13     “five-year” nature of the awards, including: (1) by expressly referring to a “five-year
14     grant”;14 (2) by stating that “[a]wards will be in the form of a five-year cooperative
15     agreement with the grantee”;15 and (3) by setting forth the grantees expectations
16     “[o]ver the five-year project period.”16
17           That Plaintiffs’ cooperative agreements were structured over the course of five
18     years is also consistent with the expectations of both parties in implementing the
19     awards; the initial round of TPP funding from 2010-2015 was also structured as a
20
       12
          Id. at 7-8.
21     13
          See https://www.hhs.gov/ash/oah/grant-programs/funding-opportunities/index.html
22     (last visited Apr. 6, 2018); see also https://www.hhs.gov/ash/oah/grant-
       programs/teen-pregnancy-prevention-program-tpp/current-grantees/map/index.html
23     (providing a map of grantees for “Fiscal Year 2015-2019”) (last visited Apr. 6,
       2018).
24     14
          See Miller Decl., Ex A (Tier 1A FOA) at 17; Miller Decl., Ex. C (Tier 2A FOA) at
25     6; Miller Decl., Ex. D (Tier 2B FOA) at 48.
       15
          See Miller Decl., Ex A (Tier 1A FOA) at 31; Miller Decl., Ex. B (Tier 1B FOA) at
26     38; Miller Decl., Ex. C (Tier 2A FOA) at 27; Miller Decl., Ex. D (Tier 2B FOA) at
27     33.
       16
          Miller Decl., Ex A (Tier 1A FOA) at 5; Miller Decl., Ex. B (Tier 1B FOA) at 13;
28     Miller Decl., Ex. C (Tier 2A FOA) at 12; Miller Decl., Ex. D (Tier 2B FOA) at 13.

                                                  -8-
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR       ECF No. 29     filed 04/06/18   PageID.1966 Page 17 of 39


 1     five-year program. Moreover, in structuring the awards as five-year programs, HHS
 2     required that the first year of the project be used for planning purposes and the
 3     remaining years for implementation. Plaintiffs structured their grant programs with
 4     those requirements in mind.17 If these programs were single-year arrangements, as
 5     Defendants now suggest, an initial planning year would make no sense. Furthermore,
 6     it is illogical to require award recipients to specifically set forth a work plan for the
 7     course of five years and to distribute results at the conclusion of the five-year period if
 8     HHS could decide on a whim to re-compete the program.
 9            Thus, contrary to HHS’s argument that Plaintiffs “attempt to recast their
10     relationship with HHS as a ‘five-year’ grant,” (Opp. at 10), there is simply nothing to
11     recast here. Rather, it is HHS who—by virtue of terminating Plaintiffs’ cooperative
12     agreements and the TPP Program as a whole prior to the end of the five-year period—
13     is attempting to sidestep its own regulations.
14            The D.C. Circuit’s decision in Southern Mutual Help Association, Inc. v.
15     Califano, 574 F.2d 518, 519 (D.C. Cir. 1977) is instructive, as it reveals that HHS’s
16     argument with respect to termination has already been soundly rejected. Strikingly
17     similar to this case, Southern Mutual concerned HHS’s predecessor, the Department
18     of Health, Education and Welfare’s (HEW) grant award to the Southern Mutual Help
19     Association (SMHA) for a five year “Project Period” and a single-year “Budget
20     Period.” Id. The D.C. Circuit explained as follows HEW’s system of project periods
21     and budget periods, which is essentially the same as that used in the TPP Program:
22     “Generally, the ‘Project Period System’ is used to obligate funds for such grants.
23     Under this system, projects are approved for multi-year support, but are funded in
24     annual increments called budget periods. Id. at 521.
25            At the end of the third budget period, HEW rejected SMHA’s continuing
26     application for the fourth budget period based on documented concerns with
27     17
         See, e.g., Miller Decl., Ex B (Tier 1B FOA) at 15 (noting that grantees must
28     “[e]ngage[] in a planning, pilot, and readiness period of up to 12 months”).

                                                    -9-
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29     filed 04/06/18   PageID.1967 Page 18 of 39


 1     SMHA’s performance. Such documented concerns do not exist in the present case;
 2     nevertheless, HEW announced the same position HHS adopts now: “‘[O]ur
 3     administrative decision not to renew this grant at the end of the budget period does
 4     not constitute grant termination. Therefore, those rules and regulations governing
 5     grant termination procedures . . . do not apply.’” Id. at 520-21 (citing Joint
 6     Appendix at 45-46) (ellipses in original.) SMHA filed suit, arguing, among other
 7     things, that HEW’s actions violated its own regulations, and sought to enjoin HEW
 8     to provide the termination procedures required under HEW’s grant regulations. Id.
 9     at 521. Like Defendants here, HEW argued that although the original grant was
10     approved for a five-year project period, it was “composed of five individual one-
11     year grants (and corresponding budget periods), for which [the grantee] had to
12     apply each year.” Id. Thus, according to the Government, its decision not to re-
13     fund the grantee after the third year did not result in the “termination” of the grant,
14     since the grant for the existing fiscal year was not affected and the grants for years
15     four and five had not been made. Id.
16           The district court denied SMHA’s claims, but the D.C. Circuit reversed, finding
17     that termination of the grant between budget periods did in fact, constitute a
18     “termination” under its grant regulations. See id. at 525–28. Importantly, the HEW
19     grant regulation’s definition of termination was nearly identical to the definition in
20     HHS’s current regulations. Compare id. at 527 (“Termination” under 45 C.F.R.
21     § 74.110 (1976) means the “cancellation of Federal assistance, in whole or in part,
22     under a grant at any time prior to the date of completion”), with 45 C.F.R. § 75.2
23     (“Termination” means the “ending of a Federal award, in whole or in part, at any time
24     prior to the planned end of the period of performance”).
25           The D.C. Circuit focused on the “project period” stated on SMHA’s award
26     documents.18 Although there was no grant period specified in the awarding
       18
27       The Grants Administration Manual in force at the time provided that the grant
       period is defined as “(t)he period for which funds have been awarded; i. e., the
28     remainder of the project period ” S. Mut., 574 F.2d at 527 (citing 1970 Policy
                                                                       (Footnote Cont’d on Following Page)
                                                  - 10 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR               ECF No. 29   filed 04/06/18   PageID.1968 Page 19 of 39


 1     document, there was a “project period” extending for five years after the initial grant
 2     award was made. By withdrawing support from the grantee prior to the expiration of
 3     the project period, the D.C. Circuit determined that the agency’s conduct amounted to
 4     a “termination.” Id. at 528.
 5              Moreover, contrary to Defendants’ assertion herein that “termination” is a term
 6     of art in HHS grants (Opp. at 7), the D.C. Circuit in Southern Mutual recognized that
 7     “termination” is an important term for all federal grants, and that therefore no
 8     deference was due to HEW’s interpretation, given that “neither notoriety of
 9     interpretation nor a subject peculiarly within agency expertise is present.” Id. at 526.
10              Here, as in Southern Mutual, when HHS initially issued the TPP awards in
11     2015, it provided each Plaintiff with a Notice of Award (NOA) that identified a
12     “project period” of five years—from July 1, 2015 through June 30, 2020.19 The
13     NOAs also identified a “budget period” that corresponded to the single fiscal year
14     of funding that Congress had appropriated and HHS had awarded to Plaintiffs in
15     response to Plaintiffs’ continuing applications. By informing Plaintiffs of their
16     intent to discontinue funding prior to the originally planned project period,
17     Defendants’ conduct amounts to the “ending of a Federal award, in whole or in
18     part at any time prior to the planned end of period of performance” and thus is a
19     “termination” under the regulations. There is no dispute that HHS’s regulations
20     permit termination by HHS in only three circumstances, and Defendants do not
21     even attempt to argue that those circumstances are present here.
22              Because Defendants have failed to comply with the mandatory procedural
23     requirements regarding a “termination,” such termination “is necessarily ‘arbitrary
24
       (Footnote Cont’d From Previous Page)
25     Statement on project grants under section 310 of the Public Health Service Act: a
       grant period is that “time period from the beginning date of the requested budget
26     period through the terminal date of the project period.”).
       19
27        Miller Decl., Exs. E & F (PPGNWHI NOAs for 2015 and 2016); Grubb Decl.,
       Exs. A &B (PPH NOAs for 2015 and 2016); Eastlund Decl., Exs. A & B (PPGWNI
28     NOA for 2015 and 2016).

                                                         - 11 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29    filed 04/06/18   PageID.1969 Page 20 of 39


 1     and capricious’ or otherwise without observance of procedure required by law and
 2     must be set aside.” Confederated Tribes & Bands of the Yakama Nation v. U.S.
 3     Fish & Wildlife Serv., No. 1:14-CV-3052-TOR, 2015 WL 1276811, at *9 (E.D.
 4     Wash. Mar. 20, 2015).
 5                       b.      HHS Cannot Rely on Informal Guidance to Override
                                 Express Regulations
 6
             Without any shelter from the regulations themselves, Defendants resort to
 7
       arguing that the Grant Policy Statement (GPS) controls. But HHS’s GPS is,
 8
       informal internal guidance at best, not a binding regulation, and the GPS expressly
 9
       states that its terms are not binding on grant recipients unless expressly written into
10
       an award document:
11
             Recipients are not directly subject to the requirements of HHS Grants
12           Policy Directives and implementing HHS Grants Administration
13           Manuals . . ., which are internal documents guiding HHS operations. If
             an [operating division] implements a requirement in an internal
14           document that does not affect recipient, it will not do so by citing that
15           document; rather, the requirement is placed on the recipient through
             explicit coverage in the NoA [notice of award].20
16
       GPS, Gerardi Decl., Ex. B, at ii (emphasis added). Even if the GPS provisions that
17
       Defendants rely upon have been expressly written into Plaintiffs’ cooperative
18
       agreements, the GPS cannot be used to contradict HHS’s regulations that limit the
19
       circumstances under which termination is allowed. Indeed, the GPS expressly
20
       acknowledges that its terms “apply as indicated in the HHS GPS unless there are
21
       statutory, regulatory, or award-specific requirements to the contrary (as specified in
22
       individual Notices of Award.” GPS, Gerardi Decl., Ex. B, at I (emphasis added).21
23
       20
          Accordingly, Defendants’ reliance on the GPS being incorporated reference is of no
24     avail. Opp. at 4–5.
25     21
          Perhaps because Defendants recognize that the GPS cannot alter its own
       regulations, Opp. at 16, they cite only to cases that relate to entirely different GPS
26
       provisions, where no apparent conflict exists between the GPS and HHS’s
27     regulations. In Navajo Nation v. Azar, cited by Defendants for the proposition that
       the GPS is binding, the court simply suggested that Plaintiffs’ alleged irreparable
28     harm from a reduction in funding might be mitigated by a GPS provision allowing
                                                                    (Footnote Cont’d on Following Page)
                                                - 12 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR               ECF No. 29   filed 04/06/18   PageID.1970 Page 21 of 39


 1              The internal GPS policy document cannot bestow HHS with unreviewable
 2     discretion to unilaterally terminate an award beyond the three circumstances
 3     identified in HHS’s regulations. See Norfolk S. Ry. Co. v. Shanklin, 529 U.S. 344,
 4     356 (2000) (no deference due to agency position that is inconsistent with the plain
 5     text of its regulations.); Public Citizen Inc. v. Mineta, 343 F.3d 1159, 1166 (9th
 6     Cir. 2003) (“[W]e need not accord any deference to an unreasonable construction
 7     that does not conform with the wording and purpose of the regulation.”).
 8              Finally, Defendants’ suggestion that the GPS gives HHS unreviewable
 9     authority to terminate an award between budget periods is an over-reading of the
10     GPS itself. Even under the GPS, a decision to deny a continuing application is
11     contingent on a determination that “continued funding would not be in the best
12     interests of the Federal government.” (GPS, Gerardi Decl., Ex. B, at II-89).
13     Defendants make no attempt to show that HHS actually reached such a
14     determination. Thus, unlike in Am. Indian Ctr. of Omaha, Inc., DAB 1141 (1990)
15     (H.H.S. Mar. 26, 1990), this is not a case in which HHS has specifically informed
16     the grantee that the agency “concluded that continued support was not in the best
17     interest of the government,” nor that it based its decision on any conduct specific to
18     that grantee. See id. (agency reasonably determined that it was not in the best
19     interest of the government to make a continuation award based on the grantee’s
20     lack of an audit). Rather, here, the terminations were made across the board, and
21     Defendants point to nothing at all—let alone anything within what they contend is
22
23
       (Footnote Cont’d From Previous Page)
24     grantees (with Agency approval) to carry over excess funds from prior fiscal years.
25     2018 WL 1092155 at *5 (D.D.C. 2018) (citing GPS at II-51). The other case cited,
       Siebert v. Gene Sec. Network, Inc., 75 F. Supp. 3d 1108, 1124 (N.D. Cal. 2014), is
26     a False Claims Act case in which the defendant’s obligations under the GPS were
       at issue, and again provides no indication that the GPS can be used to provide HHS
27
       with any termination rights broader than or inconsistent with those in its own
28     regulations.

                                                         - 13 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29    filed 04/06/18   PageID.1971 Page 22 of 39


 1     the administrative record in this case—to explain why re-competing the entire
 2     Program now would be in the best interest of the government.
 3                         c.    HHS’s Conduct Is Capable of Review
 4           Defendants’ assertion that their termination of Plaintiffs’ awards is beyond
 5     judicial review and left to agency discretion as a matter of law is one that distorts
 6     administrative law. The doctrine that precludes judicial review of action
 7     committed to agency discretion “is a very narrow exception,” as the “legislative
 8     history of the Administrative Procedure Act indicates that it is applicable in those
 9     rare instances where ‘statues are drawn in such broad terms that in a given case
10     there is no law to apply.’” Citizens to Preserve Overton Park, Inc. v. Volpe, 401
11     U.S. 402, 410 (1971) (quoting S. Rep. No. 752, 79th Cong., 1st Sess., 26 (1945)).
12     However, there is nothing so rare about Congress’ direction that HHS enter into
13     grants and cooperative agreements to implement the TPP Program that could make
14     HHS immune from following its own regulations governing the termination of
15     grants and cooperative agreements.
16           There is a clear standard to apply in this case: did HHS comply with its own
17     regulations that identify the only three circumstances under which it may terminate
18     a federal award? The undisputed answer is: No. HHS’s regulations provide a
19     valid basis on which to judge whether its actions are in accordance with law, as
20     “regulations validly prescribed by a government administrator are binding upon
21     him as well as the citizen, and . . . this principle holds even when the
22     administrative action under review is discretionary in nature.” Service v. Dulles,
23     354 U.S. 363, 372 (1957) (citing United States ex rel. Accardi v. Shaughnessy,
24     347 U.S. 260 (1954)).
25           The cases cited by Defendants to suggest that an agency’s termination of a
26     grant is beyond review do not support the proposition that an agency’s action
27     cannot be reviewed for compliance with its own regulations. Defendants cite
28     (Opp. at 20) then-Judge Scalia’s concurrence to the D.C. Circuit’s decision in

                                                 - 14 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29     filed 04/06/18   PageID.1972 Page 23 of 39


 1     California Human Development Corporation v. Brock, which states: “[I]t seems to
 2     me that the allocation of grant funds among various eligible recipients, none of
 3     which has any statutory entitlement to them, is traditionally a matter ‘committed to
 4     agency discretion by law.’” 762 F.2d 1044, 1052 (D.C. Cir. 1985). But even
 5     assuming that Justice Scalia was correct and that his opinion were binding on this
 6     Court, his point is irrelevant to Plaintiffs’ claims in this case, which address HHS’s
 7     violation of its own regulation in terminating an existing federal award, not HHS’s
 8     initial decision on how to allocate funds when making awards.22
 9           Indeed, many of the cases Defendants cite for the purpose of emphasizing
10     the difficulty of reviewing discretionary decisions of grant administration, Opp. at
11     20 n.6, actually confirm that review is available where the plaintiff claims that the
12     agency has violated a regulatory requirement. See e.g., Cmty. Action of Laramie
13     Cty., Inc. v. Bowen, 866 F.2d 347, 352 (10th Cir. 1989) (internal citation omitted)
14     (explaining that “[b]ecause a valid ‘legislative rule’ or substantive federal
15     regulation is binding to the same extent as a statute, HHS[’s] failure to follow its
16     own regulations likewise may be challenged under the APA,” but noting that
17     plaintiff failed to allege any such violation); Apter v. Richardson, 510 F.2d 351,
18     355–56 (7th Cir. 1975) (“Where it is alleged that the agency has transgressed a
19     constitutional guarantee or violated an express statutory or procedural directive,
20     otherwise non-reviewable agency action should be examined to the extent
21     necessary to determine the merits of the allegation.”).
22           Plaintiffs do not contend that HHS lacks authority to terminate awards. To
23     the contrary, HHS regulations provide three circumstances under which Federal
24     awards may be terminated, and Plaintiffs contend only that a termination must
25
26     22
          Defendants’ reliance on the Southern District of New York’s decision in Alan
27     Guttmacher Inst. v. McPherson is likewise inapplicable, because in that case there were
       no regulations in place that provided a clear limit to the agency’s discretion to terminate
28     its grants. 597 F. Supp. 1530 (1984).

                                                 - 15 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29    filed 04/06/18   PageID.1973 Page 24 of 39


 1     satisfy those basic regulatory requirements.23 What Defendants really want, but do
 2     not have, is the right to terminate a federal grant or cooperative agreement without
 3     cause. Such a right to terminate without cause has long existed for federal
 4     procurement contracts, in the “Termination For Convenience” Clause. 48 C.F.R.
 5     § 52.249-2(a).24 The HHS regulations (and the Uniform Guidance on which they
 6     are based),25 do not provide HHS with an analogous right to terminate for
 7     convenience, but instead limit agency authority to terminate grants and cooperative
 8     agreements to three scenarios, none of which Defendants even attempt to argue are
 9     satisfied here. 45 C.F.R. § 75.372(a); 2 C.F.R 200.339(a) (Uniform Guidance
10     providing the same three circumstances for termination by the Government as the
11     HHS regulations).
12     23
          Defendants cite several cases upholding HHS’s decision to terminate for non-
13     compliance, but termination for non-compliance is one of the three circumstances I
       which termination is allowed under HHS’s regulations. Those cases do not suggest that
14     HHS’s ability to terminate between budget periods is any broader than its right to
15     terminate during a budget period. See Vance-Warren Comprehensive Health Plan, Inc.,
       DAB 2180 (2008) (H.H.S. June 18, 2008) (finding that grantee’s “failures to comply
16     with the laws and regulations applicable to its grant persisted over a period of years”
17     were “serious and fully justified HRSA's decision not to refund HRSA's grant after FY
       2007”); Youth Network Council of Chicago, Inc., DAB 1150 (1990) (H.H.S. May 3,
18     1990) (concluding that there was “strong support . . . to deny funding of the
       continuation awards” where grantee “failed to materially comply with the terms and
19     conditions of the grant award”); Grassetti v. Weinberger, 408 F. Supp. 142, 150 (N.D.
20     Cal. 1976) (“While we need not go so far as to decide the question, it is probable that
       the medical merits of agency decisions on research grant applications are committed to
21     the unreviewable discretion of the agency, subject to judicial scrutiny only where it is
22     alleged that the agency has transgressed a constitutional guarantee or violated an
       express statutory or procedural directive.”).
23     24
          Even with a standard as deferential as “in the Government’s interest,” the decision to
24     terminate for convenience is not immune from judicial review, and may be scrutinized
       for bad faith or abuse of discretion. See Krygoski Constr. Co. v. United States, 94 F.3d
25     1537 (Fed. Cir. 1996).
       25
26        These HHS grant regulations largely duplicate the federal agency-wide grant guidance
       recently issued by the Office of Management and Budget at 2 C.F.R. Part 200, often
27     referred to as the “Uniform Guidance” and the “SuperCircular.” See Uniform
       Administrative Requirements, Cost Principles, and Audit Requirements for Federal
28     Awards, 78 Fed. Reg. 78590, 78599 (Dec. 26, 2013).

                                                - 16 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR        ECF No. 29    filed 04/06/18   PageID.1974 Page 25 of 39


 1                          d.      The Anti-Deficiency Act Is Irrelevant To This Case
 2            Defendants open their argument with the false assertion: “Plaintiffs argue that
 3     HHS has violated the Anti-Deficiency Act, but it is Plaintiffs’ request for relief that
 4     would violate the ADA.” Opp. at 11. Plaintiffs have never argued that HHS’s actions
 5     violate the ADA. Indeed, the term “Anti-Deficiency Act” does not appear in
 6     Plaintiffs’ Complaint or Motion for Preliminary Injunction. That is because the ADA
 7     is irrelevant to this dispute, as it controls the Executive’s authority to enter a contract
 8     for the payment of money, not an Agency’s obligations to act reasonably and comply
 9     with its own regulations.
10            Defendants’ argument is a red herring designed to change the subject of the
11     litigation. Defendants would like to frame this case as one in which HHS is executing
12     a contractual right to terminate Plaintiffs’ cooperative agreements at will, and
13     Plaintiffs are asserting an absolute right to five years’ worth of public funds in
14     contravention of Congress’ power of the purse. That is not this case. Plaintiffs do not
15     claim entitlement to unappropriated funds, money damages, or breach of contract.
16     Instead, Plaintiffs seek to hold HHS accountable for administering the TPP Program
17     in a way that is arbitrary and capricious and contrary to its own regulations.
18            The ADA, a codification of Congress’ power of the purse, is entirely directed
19     toward the obligation and expenditure of public funds. This is apparent from the plain
20     terms of the ADA, which provide that a federal employee may not “make or authorize
21     an expenditure or obligation exceeding an amount available in an appropriation . . . or
22     involve either the government in a contract for the payment of money before an
23     appropriation is made or authorized by law.” 31 U.S.C. § 1341(a)(1) (emphasis
24     added).
25            As the cases cited by Defendants show, the ADA prohibits government
26     officials from entering into contracts that, at the time of formation, obligate the
27     government to pay money that Congress has not yet appropriated. See e.g. Leiter v.
28     United States, 271 U.S. 204, 206-07 (1926) (lessor cannot recover money damages

                                                   - 17 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29     filed 04/06/18   PageID.1975 Page 26 of 39


 1     from the Government based on the alleged breach of a five-year lease where, at the
 2     time of the agreement, Congress has only authorized and appropriated one year’s
 3     worth of rent payments, and the lease provided that future appropriations would
 4     automatically trigger liability); Hercules, Inc. v. United States, 516 U.S. 417, 426–27
 5     (1996) (contracting officer would not have entered into an implied-in-fact contract to
 6     indemnify the plaintiff against third-party losses associated with use of Agent Orange,
 7     because to do so would have obligated the Government to pay funds beyond those
 8     then-appropriated or otherwise authorized by law).
 9           However, there are no such improper contracts at issue here. As a matter of
10     practicality and necessity, agencies routinely make plans, including entering into
11     contracts, beyond the expiration date of their available appropriations. Accordingly,
12     the Government Accountability Office (GAO), Congress’ oversight agency in
13     connection with its power of the purse, has consistently recognized, well after Leiter
14     was decided, that the solution to this problem is that an agency may enter into multi-
15     year agreements where, at the time of award, the United States incurs no financial
16     obligation beyond current appropriation:
17           Although the Government may not be obligated by contract or purchase,
18           unless otherwise authorized by law, until an appropriation act providing
             funds with which to make payment has been enacted, a conditional
19           contract which specifically provides that the government’s liability is
20           contingent upon the future availability of appropriations may be entered
             into prior to the enactment of an appropriation act; however, such
21           contract would become operative only if and when the appropriation is
22           made and should provide that no legal liability on the part of the
             government for any payment shall arise until the appropriation has been
23           made.
24     To the Secretary of the Interior, 39 Comp. Gen. 340, B-140850, Oct. 29, 1959, 1959
25     CPD ¶ 79; GAO Red Book Vol. I, 5-43 (consistent with the ADA, “[m]ultiyear
26     arrangements may be permissible … if they are structured in such a way that the agency,
27     at [the] time of … award, incurs no financial obligation”).
28           HHS’s project period system does not contravene the ADA, precisely because the
                                                  - 18 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29     filed 04/06/18   PageID.1976 Page 27 of 39


 1     five-year programmatic approval does not, in itself, obligate the Government to pay
 2     money beyond the first year of performance. Additional years’ funding are provided
 3     through annual funding announcements tied to current appropriations, which HHS must
 4     process and agree to before new liability attaches. See e.g., Tier 1A FOA, Miller Decl.,
 5     Ex. A at 32-33 (describing the awards “for a project period of up to five years” and
 6     explaining that “[f]unding for all approved budget periods beyond the first year of the
 7     grant is generally level with the initial award amount and is contingent upon the
 8     availability of funds, satisfactory progress of the project, and adequate stewardship of
 9     federal funds.”). In any event, there is no dispute that there are currently-appropriated
10     funds available for performance of the fourth year of the parties’ cooperative
11     agreements, which HHS has illegally terminated. 26
12           HHS did not violate the ADA by agreeing to work with Plaintiffs for five-year
13     project periods. However, agreeing to a five-year project period, HHS committed itself
14     to acting in a manner that is not arbitrary, capricious, or otherwise contrary to law.
15     “Unlike normal contractual undertakings, federal grant programs originate in and remain
16     governed by statutory provisions expressing the judgment of Congress concerning
17     desirable public policy.” Bennett v. Ky. Dep’t of Educ., 470 U.S. 656, 669 (1985); see
18     e.g., Southern Mutual, 574 F.2d at 525-527 (applying APA principles to assess whether
19     agency acted contrary to its regulations when ending a five-year grant after only three
20     26
         Notably, on March 23, 2018—before the Government filed its opposition—
21     Congress passed and the President signed the Consolidated Appropriation Act, 2018,
       Pub. L. 115-141, March 23, 2018, 132 Stat. 348, providing additional funding to
22     HHS to administer the TPP Program in the fourth budget period of Plaintiffs’
23     cooperative agreements. Thus, at all times from the beginning of Plaintiffs’ awards
       in 2015 to present, Congress has appropriated funds directing HHS to implement the
24     TPP Program. See Consolidated and Further Continuing Appropriations Act, 2015,
       Pub. L. 113-235, Dec. 16, 2014, 128 Stat. 2130, 2481; Consolidated Appropriations
25     Act, 2016, Pub. L. 114-113, Dec. 18, 2015, 129 Stat. 2242, 2617; Consolidated
26     Appropriations Act, 2017, Pub. L. 115-31, May 5, 2017, 131 Stat. 135, 536;
       Continuing Appropriations Act, 2018 and Supplemental Appropriations for Disaster
27     Relief Requirements Act, 2017, Pub. L. No. 115-56, 131 Stat. 1129, 1139-40;
       Bipartisan Budget Act of 2018 § 20402, Pub. L. No. 115-123, Feb. 9, 2018, 132 Stat.
28     64, 119 (extending funding through March 23).

                                                  - 19 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29     filed 04/06/18   PageID.1977 Page 28 of 39


 1     years without providing a pre-termination hearing); United States v. Hatcher, 922 F.2d
 2     1402, 1406 (1990) (explaining that in a dispute over the parties’ rights under a federally
 3     administered scholarship program, the court would “review this case through the prism
 4     of the APA, not contract law.”); Md. Dep’t of Human Res. v. HHS, 762 F.2d 406, 409
 5     (4th Cir. 1985) (concluding that the relevant grant program was “governed by the
 6     applicable statute and implementing regulations,” not contract principles). As explained
 7     in the prior sections, HHS failed that basic obligation.27
 8           B.     Plaintiffs Are Likely To Succeed on the Merits of Their Due Process
                    Claim.
 9
             Defendants’ response to Plaintiffs’ Due Process claim similarly is based on their
10
       erroneous belief that HHS had unrestricted authority to end Plaintiffs’ cooperative
11
       agreements between budget years. Referring yet again to the non-binding GPS,
12
       Defendants argue that HHS had no legal obligation to continue accepting non-competing
13
       applications from Plaintiffs. But the Notices of Awards, the Funding Opportunity
14
       Announcements, the representations and conduct of HHS officials, and the relevant
15
       regulations all established a “mutually explicit understanding” that the TPP Program
16
       projects would last the full five years. Perry v. Sindermann, 408 U.S. 593, 601 (1972).
17
       This understanding amounted to a protected property interest, and as is demonstrated by
18
       everything HHS said and did prior to the terminations, certainly was more than a
19
       “unilateral expectation.” Nat’l Consumer Info. Ctr. v. Gallegos, 549 F.2d 822, 828
20
       (D.C. Cir. 1977).
21
             Defendants cite Citizens Health Corp. v. Sebelius, 725 F.3d 687 (7th Cir. 2013),
22
       to attempt to undermine Plaintiffs’ protected property interest in the remainder of the
23
       TPP Program’s five-year project period. But that case supports Plaintiffs’ claim of
24
       entitlement. In Citizens Health, the plaintiff was a sub-grantee, in that it received
25
       federal funds from a municipal health services corporation, which in turn received
26
       funds directly from the federal Health Resources and Services Administration
27     27
         The Government has represented to Plaintiffs that HHS will not be obligating TPP
28     Program funds prior to September 1, 2018 while it re-competes the funds.

                                                  - 20 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR       ECF No. 29    filed 04/06/18   PageID.1978 Page 29 of 39


 1     (“HRSA”). Id. at 690. The Seventh Circuit held that the plaintiff did not have a
 2     property interest in receiving continued funds from HRSA, because the plaintiff was
 3     not the federal grantee. Id. at 691–92. However, the court went on to state that the
 4     “[municipal corporation], as sole grantee, had an arguable entitlement to the grant
 5     funds from HRSA.” Id. at 694 (emphasis added). If the plaintiff in that case had been
 6     the true grantee, at Plaintiffs are here, then the court’s analysis likely would have been
 7     different.
 8            Defendant’s reliance on Gallegos to suggest that no property interest exists
 9     here is similarly unavailing. In that case, the plaintiff applied annually for new grants,
10     which did not have set multi-year project periods like the TPP Program grants.
11     Gallegos, 549 F.2d at 824. Further, the plaintiff in Gallegos argued that a single
12     verbal representation by a government official that the plaintiff would receive
13     “continued funding” to show a mutual understanding, and the court found this to be
14     insufficient. Id. at 828 n.6. The breadth of facts demonstrating a mutual
15     understanding in this case are far more voluminous than the “informal and somewhat
16     ambiguous representation,” disputed via affidavit by the defendants in Gallegos. Id.
17            Once recognized that Plaintiffs’ awards had five-year periods of performance
18     during which they could only be terminated under three circumstances, it is clear that
19     Plaintiffs possessed the requisite property interest in their awards to entitle them to, at a
20     minimum, a pre-termination hearing. Defendants do not attempt to argue that, if a
21     protectable property right exists, sufficient process was provided in this case. Indeed, it
22     was not and Plaintiffs are likely to succeed on this claim as well.
23            C.     Plaintiffs Satisfy The Remaining Injunction Factors
24            Plaintiffs have offered ample evidence that they face irreparable harm if HHS is
25     not enjoined from terminating their cooperative agreements and the TPP Program.
26     Defendants do not dispute that such harm exists or that it flows from HHS’s conduct.
27     Instead, Defendants’ sole contention is that Plaintiffs’ “delay” in seeking injunctive
28     relief obviates a finding of irreparable harm. As an initial matter, this is not a case in
                                                   - 21 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29     filed 04/06/18   PageID.1979 Page 30 of 39


 1     which Plaintiffs have come to court on the eve of the termination of their agreements,
 2     as Defendants suggest. Plaintiffs moved for a preliminary injunction on March 16,
 3     three and a half months before the scheduled termination.
 4           Nor were Plaintiffs sitting idly since HHS announced the terminations, as
 5     Defendants would have the Court believe. Immediately following notice of the
 6     terminations, Plaintiffs sent letters to OAH challenging the improper termination as
 7     contrary to HHS’s regulations. Thus, HHS has known Plaintiffs’ principal argument
 8     all along and chose to forge ahead without so much as a response.28 TPP Program
 9     participants also were not idle between then and this challenge, as the above-
10     referenced FOIA action was pursued to assess HHS’s motives for terminating the TPP
11     Program, and Senators issued inquiries to HHS questioning HHS’s approach to
12     terminating the TPP Program.29 At the same time, fiscal year 2018 funding was under
13     Congressional consideration and debate. 30 Failure of Congress to approve fiscal year
14     2018 funding would have had a material impact on the Plaintiffs’ claims. “Under
15     such circumstances, waiting to file for preliminary relief until a credible case for
16     irreparable harm can be made is prudent rather than dilatory.” Arc of Cal. v. Douglas,
17     757 F.3d 975, 991 (9th Cir. 2014). It is shocking to see Defendants now argue, as
18     grounds for denying Plaintiffs relief, that rather than attempt to work out an amicable
19     solution to their mysterious and unilateral grant termination with HHS, Plaintiffs
20     should have sued immediately.
       28
21        See Grubb Decl., Ex. E (August 1, 2017 Letter to HHS challenging termination);
       Eastlund Decl., Ex. H (August 1, 2017 Letter to HHS challenging termination); Miller
22     Decl., Ex. L (July 31, 2017 Letters to HHS challenging termination).
       29
23        Letter from Patty Murray et al., U.S. Senators, to Thomas E. Price, Sec’y of HHS (July
       21, 2017), (Harker Decl., Ex. O).
       30
24        See e.g., Ed. Kilgore, House GOP Could Derail Spending Bill With Bid to Defund
       Planned Parenthood, NY Mag., Mar. 7, 2018, at
25     http://nymag.com/daily/intelligencer/2018/03/planned-parenthood-defunding-bid-
26     could-derail-spending-bill.html (describing legislative battle over continued TPP
       funding and plans to end the program); Jennifer Haberkorn & Sarah Ferris, Planned
27     Parenthood Defunding Threatens Government Spending Package, Politico, Mar. 7,
       2018, at https://www.politico.com/story/2018/03/07/planned-parenthood-defunding-
28     government-spending-package-392513 (same).
                                                  - 22 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR       ECF No. 29       filed 04/06/18   PageID.1980 Page 31 of 39


 1             Moreover, the Ninth Circuit has long recognized that, “[u]sually, delay is but a
 2     single factor to consider in evaluating irreparable injury; courts are ‘loath to withhold
 3     relief solely on that ground.’” Arc of Cal., 757 F.3d at 990 (citing Lydo Enters., Inc. v.
 4     City of Las Vegas, 745 F.2d 1211, 1214 (9th Cir. 1984)).31 Here, Defendants do not—
 5     and cannot—dispute that Plaintiffs and the communities that they serve continue to
 6     suffer harm as a result of HHS’s actions, and that they will suffer worse injury still
 7     once the current funding expires on July 1.
 8            Ignoring this severe harm to Plaintiffs and the communities that they serve,
 9     Defendants claim that injunctive relief would cause HHS to suffer administrative
10     hardship because it “will, in effect, be administering two versions of the TPP
11     Program.” Opp. at 25. However, this is belied by the fact that HHS knew from the
12     outset that the validity of the terminations were in dispute, and that HHS chose to
13     ignore that dispute. Any administrative burden that HHS now faces due to its prior
14     decisions to violate its own regulations are properly attributed to HHS itself, not
15     Plaintiffs.
16            Defendants likewise fail to identify a viable public interest that could tip the
17     scales in their favor. Defendants’ attempt to rely on the public’s interest in competing
18     for federal funds fails, as it was HHS’s decision to solicit and approve Plaintiffs’ five-
19     year project periods in the first place. The benefits of open competition for
20     participation in federal programs, however desirable, cannot outweigh HHS’s
21     obligation to comply with its own regulations when administering those federal
22     programs. For these reasons, and because Defendants do not otherwise dispute
23     Plaintiffs’ claims of injury or identified public interests, the balance of equities and
24     public interest clearly favor Plaintiffs.
       31
25       The cases on which Defendants rely confirm that delay is not a dispositive factor in
       determining whether preliminary relief is appropriate. See Miller ex rel N.L.R.B. v. Cal.
26     Pac. Med. Ctr., 991 F.2d 536, 544 (9th Cir. 1993) (“[D]elay by itself is not a
27     determinative factor in whether the grant of interim relief is just and proper.” (citation
       omitted)); Oakland Tribune, Inc. v. Chronicle Publ’g Co., 762 F.2d 1374, 1376–77
28     (identifying three independent bases for denying injunction).

                                                     - 23 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29     filed 04/06/18   PageID.1981 Page 32 of 39


 1     II.   DEFENDANTS’ MOTION TO DISMISS OR IN THE ALTERNATIVE
             FOR SUMMARY JUDGMENT SHOULD BE DENIED
 2
             Because Defendants made their motion to dismiss at the outset of this case,
 3
       prior to any discovery, to survive such a motion, Plaintiffs’ complaint need only
 4
       include a short and plain statement of the claim showing that the pleader is entitled to
 5
       relief. Lee v. City of Los Angeles, 250 F.3d 668, 679 (9th Cir. 2001); see Fed. R. Civ.
 6
       P. 12(b)(6); Fed. R. Civ. P. 8(a)(2). The complaint must contain sufficient facts to
 7
       state a claim that is “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678
 8
       (2009). At this early stage, all material allegations in the complaint must be taken as
 9
       true and construed in the light most favorable to the plaintiffs. Lee, 250 F.3d at 679;
10
       see also 5 C. Wright & A. Miller, Federal Practice and Procedure § 1202 (3d ed.).
11
             Defendants have also moved, in the alternative, for summary judgment. Such a
12
       motion is inappropriate. This case has not yet reached the summary judgment stage, and
13
       Plaintiffs have not yet engaged in discovery. Summary judgment is appropriate if there are
14
       no genuine issues of material fact such that the moving parties are entitled to judgment as a
15
       matter of law. Fed. R. Civ. P. 56(a). The moving party has the initial burden to prove that
16
       no genuine issue of material fact exists. Matsushita Elec. Industrial Co. v. Zenith Radio
17
       Corp., 475 U.S. 574, 586 (1986). “Inferences must also be drawn in the light most
18
       favorable to the nonmoving party.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n,
19
       809 F.2d 626, 631 (9th Cir. 1987).
20
             A.     Plaintiffs Have Plausibly Alleged Claims for Violations of the APA
21                  and the Due Process Clause Claims For Relief (Counts I, II, and IV)
22           As discussed in Section I, Plaintiffs have demonstrated that they are likely to
23     succeed on their claims under the APA and the Due Process Clause. Because the
24     plausibility standard under Rule 8 is considerably less than that for demonstrating
25     likelihood of success on the merits, see, e.g., Iqbal, 556 U.S. at 678, Plaintiffs have
26     necessarily pleaded viable claims for Counts I, II, and IV, and Plaintiffs incorporate
27     those arguments in Section I here by reference.
28

                                                  - 24 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR       ECF No. 29     filed 04/06/18   PageID.1982 Page 33 of 39


 1            B.     Plaintiffs Have Plausibly Alleged a Violation of the Establishment
                     Clause (Count III)
 2
                     1.     Plaintiffs Have Article III Standing
 3
              Defendants’ argument that Plaintiffs lack standing to bring their Establishment
 4
       Clause claims is meritless. To establish Article III standing, a plaintiff must establish that
 5
       it has suffered or will imminently suffer (1) an injury in fact, (2) fairly traceable to the
 6
       actions of the defendant, (3) likely to be redressed by a favorable ruling. Lujan v. Defs. of
 7
       Wildlife, 504 U.S. 555, 560–61 (1992). Plaintiffs have plausibly alleged that HHS’s
 8
       decision to terminate the TPP program will cause them irreparable harm by causing the
 9
       imminent loss of funds for programs that Plaintiffs currently carry out. Defendants
10
       concede that HHS has chosen “not [to] make continuation awards to current grantees,”
11
       Opp. at 28, and that Plaintiffs have an Establishment Clause claim “based solely on HHS’s
12
       actual decision not to continue awarding them funds,” Opp. at 29. Plaintiffs have plausibly
13
       alleged that the decision was motived by the predominant purpose of advancing religion,
14
       in violation of the Establishment Clause. See, e.g., McCreary County v. ACLU, 545 U.S.
15
       844, 860 (2005) (purpose to advance religion violates Establishment Clause). Remedying
16
       that Establishment Clause violation would likely remedy Plaintiffs’ harms. Plaintiffs
17
       therefore have standing to pursue their Establishment Clause claims, just as they have
18
       standing to pursue their other claims.
19
                     2.     Plaintiffs Have Plausibly Alleged An Establishment Clause
20                          Violation
21            Defendants concede that the appropriate test for a violation of the
22     Establishment Clause is the test set forth in Lemon v. Kurtzman, 403 U.S. 602, 612-13
23     (1971). Opp. at 28. Under Lemon, governmental action (1) must have a secular
24     purpose, (2) “its principal or primary effect must be one that neither advances nor
25     inhibits religion,” and (3) the action must not result in “excessive government
26     entanglement with religion.” Id. “State action violates the Establishment Clause if it
27     fails to satisfy any of these prongs.” Edwards v. Aguillard, 482 U.S. 578, 583 (1987).
28     The Supreme Court has clarified that Lemon focuses on whether either the purpose or

                                                   - 25 -
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29    filed 04/06/18   PageID.1983 Page 34 of 39


 1     the effect of the challenged governmental action results in the endorsement of
 2     religion. Id. at 585 (“The purpose prong of the Lemon test asks whether government's
 3     actual purpose is to endorse or disapprove of religion.”).
 4           As Defendants also concede, Opp. at 30, to determine purpose, one looks
 5     through the eyes of a reasonable, objective observer of the challenged action.
 6     McCreary, 545 U.S. at 863. “[A]n understanding of official objective emerges from
 7     readily discoverable fact, without any judicial psychoanalysis of a drafter’s heart of
 8     hearts.” Id. at 862. “The eyes that look to purpose belong to an ‘objective observer,’
 9     one who takes account of the traditional external signs that show up in the ‘text,
10     legislative history, and implementation of the statute,’ or comparable official act.” Id.
11     “Reasonable observers have reasonable memories, and [the Supreme Court’s]
12     precedents sensibly forbid an observer ‘to turn a blind eye to the context in which
13     [the] policy arose.’” McCreary, 545 U.S. at 866.
14           Plaintiffs have plausibly alleged that HHS’s decision to withdraw TPP funds
15     was motivated by a predominantly religious purpose. Plaintiffs’ complaint documents
16     the many reasons why an objective observer would reasonably conclude that Valerie
17     Huber, the official who decided to withdraw evidence-based TPP Program funding,
18     acted with a predominantly religious purpose, including that the programs she
19     administered as abstinence coordinator in Ohio contained explicitly religious
20     teachings. Compl. ¶¶ 69-75. A voluminous public record also supports the
21     reasonable inference that HHS’s decision to end the evidence-based TPP Program
22     was driven by a predominantly religious purpose. For example, a profile of
23     Ms. Huber published in 2006 states that she became involved in the abstinence-only
24     sex-education movement because “God placed a passion in Valerie’s heart to provide
25     parents and teachers with materials and skills to communicate the message of
26     abstinence to youth.”32 Similarly, on January 22, 2018, Politico published an article
       32
27       State of Ohio Hires Grace Brethren Abstinence Coordinator, CE News, Jan. 17, 2006,
       http://web.archive.org/web/20060117174631/http://cenational.org/Publications/
28     publicationsArticle.asp?IDNum=63.

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        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29     filed 04/06/18   PageID.1984 Page 35 of 39


 1     describing the rise of Valerie Huber and other “religious activists” inside HHS, stating
 2     that “[c]ritics fret some agency leaders are blurring the lines between church and
 3     state.”33
 4            The inference of improper purpose is further bolstered by the procedural
 5     irregularities and inconsistent and implausible explanations at the heart of this case.
 6     “Departures from the normal procedural sequence” are themselves “evidence that
 7     improper purposes are playing a role.” Vill. of Arlington Heights v. Metro. Hous. Dev.
 8     Corp., 429 U.S. 252, 267 (1977). Pretextual justifications for a challenged action can
 9     also give rise to an inference of illicit motive. See Reeves v. Sanderson Plumbing
10     Prod., Inc., 530 U.S. 133, 147 (2000). HHS has given shifting and implausible
11     explanations for prematurely terminating the five-year, evidence-based TPP Program,
12     a program that by every measure was wildly successful. If HHS had a plausible and
13     permissible reason for its actions, HHS would have come forward with it already.
14            Defendants state that “[t]o violate the Establishment Clause under the first
15     prong of Lemon, sectarian religious aims must be apparent on the face of the policy.”
16     Opp. at 32. Not so. The Supreme Court’s precedents instruct that it is the “context in
17     which [the] policy arose,” McCreary, 545 U.S. at 866, that determines whether the
18     government has acted with a predominantly religious purpose. In Wallace v. Jaffree
19     an Alabama law authorized teachers to set aside one minute at the start of each day for
20     a moment for “meditation” or “voluntary prayer.” 472 U.S. 38, 40 (1985). As Justice
21     O’Connor noted in her concurrence in Wallace, “a moment of silence is not inherently
22     religious,” id. at 72 (O’Connor, J., concurring), and “[b]y mandating a moment of
23     silence, a State does not necessarily endorse any activity that might occur during the
24     period,” id. at 73. Nonetheless, on review of the legislative record “candor require[d]”
25     Justice O’Connor, like the Court, “to admit that this Alabama statute was intended to
26     convey a message of state encouragement and endorsement of religion” and therefore
       33
27       Dan Diamond, The religious activists on the rise inside Trump's health department,
       Politico, Jan. 22, 2018, https://www.politico.com/story/2018/01/22/trump-religious-
28     activists-hhs-351735.

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        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR     ECF No. 29     filed 04/06/18   PageID.1985 Page 36 of 39


 1     violated the Establishment Clause. Id. at 78. Justice Powell agreed. Id. at 62 & n.2
 2     (Powell, J., concurring). Similarly, in Church of the Lukumi Babalu Aye, Inc. v. City
 3     of Hialeah the statute at issue violated the Free Exercise Clause even though on its
 4     face it did not single out any religion for disfavored treatment. See 508 U.S. 520, 534
 5     (1993). As the Court there wrote: “Facial neutrality is not determinative. The Free
 6     Exercise Clause, like the Establishment Clause, extends beyond facial
 7     discrimination.” Id. (emphasis added).34
 8           Defendants contend that Bowen v. Kendrick, 487 U.S. 589 (1988), a case in
 9     which a different policy promulgated at a different time under different circumstances
10     survived a facial Establishment Clause challenge, means that HHS’s decision to
11     withdraw TPP Program funds is immune to challenge under the Establishment
12     Clause. Bowen could not be more irrelevant to this case. In Bowen, the Supreme
13     Court held that “[t]here simply is no evidence that Congress’ ‘actual purpose’ in
14     passing the [challenged law] was one of ‘endorsing religion.’” Id. at 604. The same
15     cannot be said here.
16           Moreover, Bowen was decided at summary judgment after discovery. Id. at
17     597-98. Plaintiffs in this case—just like the plaintiffs in Bowen—are entitled to
18     discovery into the motivations of the relevant officials. See Decl. of Andrew Tutt.
19           As Bowen itself held, the question whether withdrawing TPP Program funds
20     would violate the “purpose,” “effect,” or “entanglement” prongs of Lemon is a factual
21     issue that can only be resolved after there has been an opportunity for discovery
22     regarding the purpose and effects of the government’s actions. See id. at 620-22.
23
       34
24       Stone v. Graham most starkly illustrates the point. There, the Kentucky legislature
       sought to insulate the posting of the Ten Commandments in public school classrooms
25     from Establishment Clause attack by requiring that they be posted with a disclaimer
26     attesting that they were being displayed to illustrate their important role in the
       development of the “fundamental legal code of Western Civilization and the
27     Common Law of the United States.” Stone v. Graham, 449 U.S. 39, 41 (1980). The
       Supreme Court nonetheless held that the posting requirement was “plainly religious.”
28     Id. at 41-42.

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        DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
     Case 2:18-cv-00055-TOR      ECF No. 29    filed 04/06/18   PageID.1986 Page 37 of 39


 1           Thus, Plaintiffs are, at minimum, entitled to proceed to discovery on the
 2     question of whether HHS has violated the Establishment Clause.35 In Establishment
 3     Clause cases, plaintiffs have routinely deposed public officials in order to determine
 4     whether the relevant government official or government body acted with a
 5     predominantly religious purpose. See, e.g., Marsh v. Chambers, 463 U.S. 783, 799
 6     n.8 (1983) (citing trial testimony of State legislator); accord Town of Greece, N.Y. v.
 7     Galloway, 134 S. Ct. 1811, 1829 (2014) (Alito, J., concurring) (citing the trial
 8     testimony of Town of Greece officials); see also Citizens to Pres. Overton Park, Inc.
 9     v. Volpe, 401 U.S. 402, 420 (1971) (“The court may require the administrative
10     officials who participated in the decision to give testimony explaining their action.”).
11           Indeed, here, the limited discovery available through the FOIA suggests that
12     discovery may very well provide irrefutable evidence that Defendants violated the
13     Establishment Clause in their decision to terminate the evidence-based TPP Program. See
14     Link Decl., Exs. N & O (showing Ms. Huber’s commitment to a call with “pro-life
15     Christian” organization Obria in response to Obria’s request for TPP grant funding;
16     documenting Ms. Huber’s frequent meetings with Shannon Royce during the period in
17     which TPP Program decisions were made).
18                                            CONCLUSION
19           For the foregoing reasons, Plaintiffs’ motion for preliminary injunction should
20     be granted and Defendants’ motion to dismiss, or in the alternative for summary
21     judgment, should be denied.
22
23
       35
24       The government argues, as a reason to dismiss Plaintiffs’ complaint, that “Plaintiffs
       do not allege that Ms. Huber shares the religious views expressed in the 2005
25     curricula discussed in the complaint, or that she or anyone else now at HHS has an
26     interest in funding similar curricula through the TPP Program.” Opp. at 32. It is
       hardly fair for the Government to seek to dismiss Plaintiffs’ complaint on the
27     grounds that Plaintiffs have not pleaded facts that they do not know. Plaintiffs’
       inability to allege such facts because they lack knowledge of those facts is precisely
28     why Plaintiffs need access to discovery in this case.

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     Case 2:18-cv-00055-TOR    ECF No. 29   filed 04/06/18   PageID.1987 Page 38 of 39


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      Case 2:18-cv-00055-TOR     ECF No. 29    filed 04/06/18    PageID.1988 Page 39 of 39


  1
                                   CERTIFICATE OF SERVICE
  2
  3           I, Rick Eichstaedt, hereby certify that on April 6, 2018, I electronically filed

  4     the foregoing with the Clerk of the Court using the CM/ECF system which will send
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PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
AND OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS OR MOTION FOR
SUMMARY JUDGMENT; NO. 2:18-cv-00055-TOR
